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                        IN THE UNITED STATES DISTRICT COURT
                         FOR THE EASTERN DISTRICT OF TEXAS
                                 SHERMAN DIVISION

 SUZANNE E. JONES,

                Plaintiff,
                                                         STIPULATION OF DISMISSAL
        v.

 H. NEIL MATKIN, in his personal and                      Civil Action No.: 4:21-cv-733-ALM
 official capacity; TONI JENKINS, in her
 personal and official capacity; and COLLIN
 COLLEGE,

                Defendants.


       Plaintiff Suzanne Jones and Defendants Collin College, H. Neil Matkin, and Toni Jenkins

have resolved this case. In accordance with the parties’ agreement and under Fed. R. Civ. P.

41(a)(1)(A)(ii), the parties stipulate to the dismissal with prejudice of all claims and affirmative

defenses in this action, with each side bearing its own costs and attorney’s fees except as

provided for in the parties’ agreement.

Dated: November 23, 2022

Respectfully Submitted,


  /s/ Greg H. Greubel                                 /s/ Robert W. Schmidt
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                                 CERTIFICATE OF SERVICE

       Plaintiff’s counsel confirms that a true and correct copy of the foregoing was served via

the Court’s electronic filing system on this day, November 23, 2022. Notice of this filing will be

sent by operation of the Court’s electronic filing system to the parties indicated below and parties

who may access this filing through the Court’s electronic filing system.

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                                     Counsel for Defendants

Date: November 23, 2022                                              /s/ Greg Harold Greubel
                                                                     Greg H. Greubel




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